Case 1:22-cv-01032-PKC-JRC Document 92 Filed 06/28/22 Page 1 of 1 PageID #: 1523




                                  WARNER & SCHEUERMAN
                                     Attorneys At Law
                                6 West 18th Street, 10th Floor
                                 New York, New York 10011
                                    Tel: (212) 924-7111
                                    Fax: (212) 924-6111
 Jonathon D. Warner, Esq.
 jdwarner@wslaw.nyc

 Karl E. Scheuerman, Esq.
 kescheuerman@wslaw.nyc                                      June 28, 2022

 VIA ECF

 Hon. James R. Cho, U.S.M.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11021-1804

 Re:    IME WatchDog, Inc. v. Gelardi
        Case No. 1:22-cv-1032 (PKC)(JRC)

 Dear Judge Cho:

        We represent defendants/third-party plaintiffs Safa Gelardi, Vito Gelardi and IME
 Companions, LLC, and write to respectfully request an extension of our time to answer the
 counterclaims of the third-party defendant Carlos Roa to July 6, 2022. Counsel for third-party
 defendant Carlos Roa consents to the request.

        We thank the Court for its courtesies and cooperation.

                                                             Respectfully yours,


                                                             /s/ Jonathon D. Warner

 JDW/ks

 cc:    Emanuel Kataev, Esq. (VIA ECF)
        Leo Shalit, Esq. (VIA ECF)
